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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,     )          CRIM. NO. 08-00739 (01) SOM
                                )          CIV. NO. 18-00287 SOM/RT
            Plaintiff,          )
                                )          FIRST SUPPLEMENT TO ORDER
       vs.                      )          DENYING PETITION UNDER 28
                                )          U.S.C. § 2255, DENYING
  RAMIRO HERNANDEZ (01),        )          REQUEST FOR AN EVIDENTIARY
                                )          HEARING, AND DENYING
            Defendant.          )          CERTIFICATE OF APPEALABILITY
  _____________________________ )

            FIRST SUPPLEMENT TO ORDER DENYING PETITION UNDER
         28 U.S.C. § 2255, DENYING REQUEST FOR AN EVIDENTIARY
           HEARING, AND DENYING CERTIFICATE OF APPEALABILITY

  I.         INTRODUCTION.

             On December 31, 2018, this court denied Defendant

  Ramiro Hernandez’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

  Aside, or Correct Sentence by a Person in Federal Custody, denied

  his request for an evidentiary hearing, and declined to issue a

  certificate of appealability.       The court invited Hernandez to

  identify any ground for relief raised in his § 2255 motion that

  he thought this court had failed to address in its order,

  informing him that any issue not so identified would be deemed

  automatically waived.      See ECF No. 630.

             On January 11, 2019, Hernandez said that this court had

  failed to adjudicate three issues: 1) whether appellate counsel

  Deanna Dotson had rendered ineffective assistance of counsel by

  failing to raise a California wiretap issue on appeal; 2) whether

  this court had erred in sentencing Hernandez to 300 months; and

  3) whether appellate counsel Pamela Tower had rendered
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  ineffective assistance of counsel by failing to obtain a forensic

  analysis of a tape recording to determine whether it had been

  altered.   With the exception of these three issues and any issue

  discussed in this court’s earlier order, Hernandez has waived all

  other issues that he may have asserted in his § 2255 motion.             See

  ECF No. 630.

             The court denies the § 2255 motion to the extent it is

  based on the second and third identified issues.          However, as

  detailed below, the court requests additional limited briefing on

  the first issue.     The court continues to deny Hernandez’s request

  for an evidentiary hearing, although if supplemental briefing on

  the first issue raises issues that warrant an evidentiary

  hearing, the court will revisit the issue of a hearing.            Finally,

  the court at this point continues to decline to issue a

  certificate of appealability.       In all other respects, the court’s

  order of December 31, 2018, is incorporated into this order by

  reference and continues to have full effect.

  II.        ANALYSIS.

             A.    The Court Requests Supplemental Briefing With
                   Respect to What Prejudice Hernandez Suffered When
                   Appellate Counsel Failed to Raise the Wiretap
                   Issue on Appeal.

             Hernandez claims that his second appellate counsel,

  DeAnna S. Dotson, was ineffective in failing to raise a state

  wiretap issue on appeal.      See Hurles v. Ryan, 752 F.3d 768, 785


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  (9th Cir. 2014) (“A criminal defendant enjoys the right to the

  effective assistance of counsel on appeal.”).          In its earlier

  order of December 31, 2018, this court rejected the assertion

  that Pamela O’Leary Tower, Hernandez’s first appellate counsel,

  had been ineffective in failing to raise the California wiretap

  issue.    This court noted that Hernandez had sought suppression of

  the wiretap evidence before this court, which this court had

  denied.    See ECF Nos. 246, 323, 325.      This court ruled that

  Hernandez had failed to demonstrate that Tower was objectively

  unreasonable in choosing not to raise the issue again on appeal

  during the time she represented Hernandez.         The court

  additionally notes that Tower no longer represented Hernandez

  when he filed his opening brief on appeal.

              Hernandez now says this court failed to rule on whether

  subsequent appellate counsel, Dotson, was ineffective in failing

  to raise the wiretap issue in light of United States v. Perez-

  Valencia, 727 F.3d 852 (9th Cir. 2013), a Ninth Circuit decision

  rendered after Hernandez was convicted but before he was

  sentenced.    In Perez-Valencia, the Ninth Circuit ruled that,

  under California Penal Code § 629.50, only the district attorney

  or the person designated to act as the district attorney in all

  respects in the district attorney’s absence, could apply for a



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  wiretap.   Id. at 855 (“We hold . . . that ‘the’ attorney

  designated to act in the district attorney’s absence--as § 629.50

  specifies--must be acting in the district attorney’s absence not

  just as an assistant district attorney designated with the

  limited authority to apply for a wiretap order, but as an

  assistant district attorney duly designated to act for all

  purposes as the district attorney of the political subdivision in

  question.”).

             The record in this case does not conclusively establish

  that the person who applied for the California wiretap at issue

  was designated to act as the district attorney for all purposes

  when he or she was unavailable.          See ECF No. 312-5 (listing four

  assistant district attorneys authorized to apply for wiretaps

  when the district attorney was unavailable).          This court

  therefore requests supplemental briefing with respect to the

  prejudice Hernandez may have suffered because Dotson failed to

  raise the wiretap issue on appeal.

             Of course, the court is not here ruling that Dotson’s

  failure to raise the issue on appeal fell below an objective

  standard of reasonableness under prevailing professional norms.

  See Strickland v. Washington, 466 U.S. 668, 688 (1984).            Dotson

  might have been justified in choosing not to raise the issue on



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  appeal on the ground that the issue would not succeed.           See Jones

  v. Smith, 231 F.3d 1227, 1239 n.8 (9th Cir. 2000) (stating that

  appellate counsel was not ineffective for failing to raise an

  issue that was not grounds for reversal).

             The court notes that the California wiretap evidence

  does not appear to have been introduced as evidence in

  Hernandez’s second trial.      See Opposition to § 2255 Motion at 24-

  25, ECF No. 622, PageID #s 11116-17 (“It was reasonable for

  Hernandez’s counsel not to raise this claim on direct appeal,

  particularly given that the Government did not even make use of

  the challenged state wiretaps during his second trial.”);

  Hernandez’s Memorandum in Support of § 2255 Motion at 85, ECF

  No. 614-2, PageID #s 10846 (“The government . . . shocked the

  entire proceedings when it cited that, ‘it was not going to

  introduce any of the intercepted calls from the wire tap’”).

             No later than February 27, 2019, Hernandez may file a

  supplemental memorandum that details how the wiretap evidence at

  issue affected the second trial even though the intercepted calls

  were not introduced.     He may also describe any alleged prejudice

  that he suffered as a result of Dotson’s failure to raise the

  wiretap issue on appeal.




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             This supplemental memorandum must be no longer than 5

  pages and must not raise or discuss any other issue.            The

  Government may respond to Hernandez’s supplemental memorandum no

  later than March 13, 2019, in a filing that is also no longer

  than 5 pages.

             B.    Hernandez Procedurally Defaulted on His Claim That
                   This Court Improperly Sentenced Him to 300 Months
                   of Imprisonment.

             On September 18, 2014, the court sentenced Hernandez to

  300 months of imprisonment with respect to each count, with all

  terms running concurrently.       The court also sentenced him to 5

  years of supervised release for each count, with all terms

  running concurrently, as well as a $300 special assessment.             See

  ECF Nos. 533 (Minutes of Sentencing Proceeding), 535 (Judgment).

  Hernandez did not challenge his sentence on appeal.             See

  Appellant’s Opening Brief, No. 14-10453, Doc. No. 35 (July 19,

  2016).

             Hernandez is procedurally barred from raising an issue

  in his § 2255 motion if the issue could have been raised earlier,

  unless he is actually innocent, United States v. Guess, 203 F.3d

  1143, 1145 (9th Cir. 2000), or he can demonstrate both “cause”

  for the delay and “prejudice” resulting from the alleged error.

  United States v. Frady, 456 U.S. 152, 167-68 (1982); accord Davis



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  v. United States, 411 U.S. 233, 242 (1973).         To show “actual

  prejudice,” Hernandez “must shoulder the burden of showing, not

  merely that the errors at his trial created a possibility of

  prejudice, but that they worked to his actual and substantial

  disadvantage, infecting his entire trial with error of

  constitutional dimensions.”       Frady, 456 U.S. at 170.       Hernandez

  makes no such showing.

              Hernandez is not arguing that he is actually innocent

  and fails to show why he did not raise the sentencing issue on

  appeal.    He does not demonstrate either “cause” or “prejudice”

  for that failure.     Hernandez therefore procedurally defaulted on

  the claim that he was improperly sentenced and cannot raise it

  for the first time in his § 2255 motion.

              C.   Hernandez Fails to Show That Pamela O’Leary Tower
                   Was Ineffective in Failing to Obtain a Forensic
                   Analysis of a Tape Recording, Exhibit 800, To
                   Determine Whether It Had Been Altered.

              Hernandez asserts that appellate counsel, Tower, was

  ineffective in failing to obtain a forensic analysis of tape

  recordings, Exhibit 800, to determine whether they had been

  altered.    Even assuming that such a forensic analysis was

  available, Hernandez does not show that it would have made any

  difference in the outcome of this case.         Hernandez provides no

  indication that a forensic analysis would have demonstrated that

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  the tape recordings had been materially altered.          At most,

  Hernandez says “it is clear that the recordings had breaks and

  deletions.”     See ECF No. 614-1 at 59, PageID # 10712.        But he

  identifies no specific places in the recording that the court

  should study.    In particular, he does not say how any “deletion”

  can be discerned.     Nor does he identify any other evidence that

  the tape was altered.

             For example, while Hernandez cites Exhibit 21, ECF No.

  614-24, PageID # 10965, as support for his claim that the tape

  was altered, that letter from Tower to Hernandez merely states,

  “I have emailed Jonathan Loo regarding the CD – Govt Ex 800.             I

  am looking into forensic audio companies as well.”          Id.

  Hernandez similarly cites page 93 of his motion as support for

  the alteration of the tape.       But, again, that page only states

  that Tower “told [Hernandez] that she was looking into a forensic

  examiner of the original Jose Perez known recordings.”            ECF

  No. 614-1 at 94, PageID # 10747.

             At trial, Special Agent Clement Sze testified that he

  was present at the time the recordings at issue, Ex. 800, were

  made.   He said that they were “accurate” and had “[n]o breaks,

  deletions, or interruptions.”       Transcript of Proceedings at 3-86

  (Jan. 10, 2012), ECF No. 552, PageID # 8748.         Hernandez counters



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  with nothing more than his own assertion and does not even hint

  at what evidence he has to support that assertion.

             Under these circumstances, Hernandez fails to show that

  Tower’s failure to obtain the forensic analysis was deficient.

  Hernandez also fails to show how he was prejudiced by that

  alleged failure.

             D.     The Court Continues to Decide This Matter Without
                    a Hearing.

             The court continues to deny Hernandez’s § 2255 motion

  without holding an evidentiary hearing, as the record before the

  court conclusively demonstrates that Hernandez is not entitled to

  § 2255 relief.     See 28 U.S.C. § 2255(b) (requiring a hearing

  “[u]nless the motion and the files and records of the case

  conclusively show that the prisoner is entitled to no relief”).

  The court therefore continues to deny Hernandez’s motion asking

  this court to conduct an evidentiary hearing.          See ECF No. 616.

  III.       The Court Continues to Decline to Issue a Certificate
             of Appealability.

             The court continues to decline to grant Hernandez a

  certificate of appealability.       An appeal may not be taken to the

  court of appeals from a final order in a § 2255 proceeding

  “[u]nless a circuit justice or judge issues a certificate of

  appealability.”     28 U.S.C. § 2253(c)(1)(B).      The court shall



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  issue a certificate of appealability “only if the applicant has

  made a substantial showing of the denial of a constitutional

  right.”    28 U.S.C. § 2253(c)(2).        When a district court denies a

  § 2255 petition on the merits, a petitioner, to satisfy the

  requirements of section 2253(c)(2), “must demonstrate that

  reasonable jurists would find the district court’s assessment of

  the constitutional claims debatable or wrong.”          Slack v.

  McDaniel, 529 U.S. 473, 484 (2000).         When, however, a

              district court denies a habeas petition on
              procedural grounds without reaching the
              prisoner’s underlying constitutional claim, a
              [certificate of appealability] should issue
              when the prisoner shows . . . that jurists of
              reason would find it debatable whether the
              petition states a valid claim of the denial
              of a constitutional right and that jurists of
              reason would find it debatable whether the
              district court was correct in its procedural
              ruling.
  Id.

              This court does not think any reasonable jurist would

  find it debatable that Hernandez has procedurally defaulted on

  his challenge to his sentence.        Nor does this court think any

  reasonable jurist would find this court’s assessment of the

  merits of Hernandez’s ineffective assistance of counsel claims

  debatable or wrong.      Accordingly, the court continues to decline

  to issue Hernandez a certificate of appealability.




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  IV.         CONCLUSION.

              Hernandez’s § 2255 motion and request for an

  evidentiary hearing, ECF Nos. 614 and 616, are denied to the

  extent they are based on his claim that he was improperly

  sentenced to 300 months of imprisonment and that appellate

  counsel failed to obtain a forensic analysis of tape recordings.

  The court requests limited supplemental briefing on the sole

  remaining issue before this court--whether Dotson was ineffective

  in failing to raise the California wiretap issue on appeal.

  Specifically, no later than February 27, 2019, Hernandez may file

  a supplemental memorandum that details how, if at all, the

  California wiretap evidence affected the second trial, and

  identifies any alleged prejudice that he suffered as a result of

  Dotson’s failure to raise the wiretap issue on appeal.            The

  supplemental memorandum must be no longer than 5 pages and must

  not raise or discuss any other issue.         The Government may respond

  to Hernandez’s supplemental memorandum no later than March 13,

  2019, in a filing that is also no longer than 5 pages.




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               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, January 30, 2019.




                                           /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge




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